                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

ZAYO GROUP, LLC,

                                     Plaintiff,

                      v.
                                                       Case No.: 3:21-cv-00535-FDW-DCK
NETWORK RESOURCE
TECHNOLOGIES CORP.,

                                  Defendants.



       TAKE NOTICE that the undersigned counsel, Abbey M. Krysak of the law firm Wagner

Hicks PLLC, hereby makes her appearance as counsel, in addition to Derek M. Bast of Wagner

Hicks PLLC, Sean C. Wagner of Wagner Hicks PLLC, and Anthony J. Jorgenson of Hall, Estill,

Hardwick, Gable, Golden & Nelson, P.C. (Pro Hac Vice), for the Plaintiff Zayo Group, LLC, in

the above-referenced action, and requests that all pleadings and/or correspondence in this matter

be directed to her attention at the address below.

       Respectfully submitted this 21st day of October, 2022.

                                               WAGNER HICKS PLLC

                                          By: /s/ Abbey M. Krysak
                                              Sean C. Wagner, N.C. State Bar No. 50233
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                                               And




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                             Anthony J. Jorgenson (Pro Hac Vice)
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                               CERTIFICATE OF SERVICE

      On October 21, 2022, I submitted the foregoing document with the Clerk of Court for the
United States District Court for the Western District of North Carolina, Charlotte Division. I
hereby certify that I have served all counsel and/or pro se parties electronically or by another
manner authorized by Federal Rule of Civil Procedure 5(b).

      This the 21st day of October, 2022.



                                                   /s/ Abbey M. Krysak
                                                   Abbey M. Krysak




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